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 1 PHILLIP A. TALBERT
   United States Attorney
 2 PAUL A. HEMESATH
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 2:15-CR-0125 GEB
11
                                  Plaintiff,            STIPULATION AND PROTECTIVE ORDER
12                                                      REGARDING DISSEMINATION OF DISCOVERY
                            v.                          DOCUMENTS CONTAINING PERSONAL
13                                                      IDENTIFICATION INFORMATION
     BENJAMIN MACIAS,
14
                                 Defendant.
15

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17          IT IS HEREBY STIPULATED AND AGREED among the parties and their respective counsel,

18 Paul Hemesath, Assistant United States Attorney, on behalf of the government, and Jan Karowsky, on

19 behalf of defendant BENJAMIN MACIAS, that certain identified documents to be provided as

20 discovery in this case are subject to a Protective Order.

21          MACIAS is charged with various drug and firearms offenses. The parties agree that certain

22 discovery in the case contains Protected Information. The phrase “Protected Information” as used in this

23 stipulation and order includes Social Security Numbers, Driver’s License Numbers, dates of birth,

24 addresses, telephone numbers, e-mail addresses, and any other personal or financial identifying

25 information. The proposed Protective Order extends to all documents provided by the government to

26 defense counsel in this case that contain such Protected Information including, but not limited to, a disc
27 marked PHONE INFORMATION.

28          By signing this Stipulation and Protective Order, defense counsel agrees not to share any


      STIPULATION AND [PROPOSED] ORDER                   1
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 1 documents containing Protected Information in unredacted form with any person other than primary

 2 counsel, assisting counsel, designated defense investigators, and support staff. Defense counsel may

 3 allow his client to view unredacted documents in his, investigators’ and/or appropriate staff members’

 4 presence. The parties further agree that defense counsel, investigators, and support staff shall not permit

 5 defendant to copy, either in writing or by other means, Protected Information contained in the discovery.

 6 Defense counsel, investigators and support staff may provide defendant s with copies of documents from

 7 which all Protected Information has been redacted.

 8          The parties are unaware of any Protected Information contained in discovery distributed prior to
 9 September 26, 2017.

10          In the event that any defendant substitutes counsel, the undersigned attorney agrees to withhold
11 documents containing Protected Information from new counsel until such time as substituted counsel

12 agrees to be bound by this Protective Order.

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14 Dated: September 26, 2017                                PHILLIP A. TALBERT
                                                            United States Attorney
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16                                                          /s/ PAUL HEMESATH
                                                            PAUL HEMESATH
17                                                          Assistant United States Attorney
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19 Dated: September 26, 2017                                /s/ JAN KAROWSKY
                                                            JAN KAROWSKY
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                                                            Counsel for Defendant
21                                                          BENJAMIN MACIAS

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      STIPULATION AND [PROPOSED] ORDER                  2
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           Case 2:15-cr-00125-DJC-CKD Document 84 Filed 09/28/17 Page 3 of 3

 1                                         FINDINGS AND ORDER
 2          FOR GOOD CAUSE SHOWN, pursuant to the stipulation of counsel, any document containing
 3 Protected Information, including but not limited to a disc marked TELEPHONE INFORMATION,

 4 provided to defense counsel by the government as discovery shall:

 5          1. Be shared in unredacted format only among primary counsel, assisting counsel, designated
 6 defense investigators, and support staff;

 7          2. Be viewed by a defendant in unredacted format only in the presence of his attorney,
 8 investigator, and/or appropriate support staff; and

 9          3. Be provided to a defendant only in a copy from which all Protected Information has been
10 redacted.

11          No person shall permit defendant to copy, either in writing or by other means, Protected
12 Information contained in the discovery. No person shall provide substitute counsel with documents

13 containing Protected Information until such time as substitute counsel has agreed to be bound by this

14 Protective Order.

15 Dated: September 27, 2017

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      STIPULATION AND [PROPOSED] ORDER                   3
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